

Syrett v Gateway Residential Mgt. LLC (2023 NY Slip Op 51091(U))



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Syrett v Gateway Residential Mgt. LLC


2023 NY Slip Op 51091(U)


Decided on October 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., Tisch, Michael, JJ.



570668/23

Alicia Syrett and James Major, Plaintiffs-Appellants, 
againstGateway Residential Management LLC, Marina Towers Associates, L.P., Defendants-Respondents.




Plaintiffs appeal from an order of the Civil Court of the City of the City of New York, New York County (Jose A. Padilla, Jr., J.), entered November 17, 2022, which, sua sponte, transferred the case from the self-represented litigants part to the general calendar, and an order (same court and Judge), entered April 28, 2023, which denied plaintiffs' motion to vacate the aforesaid order.




Per Curiam.
Order (Jose A. Padilla, Jr., J.), entered April 28, 2023, reversed, with $10 costs, and matter restored to the self-represented litigants (SRL) Part 11 calendar. Appeal from order (Jose A. Padilla, Jr., J.), entered November 17, 2022, dismissed, without costs, as nonappealable and academic.
Civil Court erred when it transferred this plenary action from the self-represented litigants (SRL) part of the Civil Court - a part devoted to cases where "any of the parties is self-represented" (Civ Ct of City of NY, Directive &amp; Pro 161 [eff Sept. 9, 2002] [DRP-161]), to a general calendar part, since it is undisputed that, at a minimum, plaintiff Alicia Syrett was unrepresented and appeared pro se.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: October 16, 2023









